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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

COMMITTEE FOR A FAIR AND                               )
BALANCED MAP, et al.                                   )
                                                       )   Case No. 1:11-cv-05065
                   Plaintiffs,                         )
v.                                                     )   Judge Joan Humphrey Lefkow
                                                       )   Judge John Daniel Tinder
ILLINOIS STATE BOARD OF ELECTIONS,                     )   Judge Robert L. Miller, Jr.
et al.,                                                )
                                                       )
                   Defendants.                         )


     PLAINTIFFS’ SUPPLEMENTAL FILING IN SUPPORT OF THEIR MOTION TO
             COMPEL THE ILLINOIS GENERAL ASSEMBLY PARTIES
               AND IN OPPOSITION TO THE MOTION TO QUASH

        Plaintiffs are compelled to make this Supplemental Filing because the Defendants have

submitted expert reports that contradict the positions taken by the Subpoena Respondents in

opposing the Plaintiffs’ request for discovery into the intent behind and the data underlying the

State of Illinois’s Congressional Redistricting Plan. On the evening of October 4, the Defendants

provided the Plaintiffs with a series of reports by their experts, Allan J. Lichtman and Gerald R.

Webster, that (1) rely extensively on data provided by staff of the Office of the Illinois Speaker

of the House of Representatives—the very same body that has refused to produce any

information to the Plaintiffs on the ground of legislative “immunity”; and (2) fault the Plaintiffs

for failing to provide evidence of Respondents’ discriminatory intent, which is exactly what the

Plaintiffs seek from the Respondents through their Subpoenas. As explained below, the expert

reports show precisely why the Court should grant Plaintiffs’ Motion to Compel [Dkt. 52] and

deny the Respondents’ Motion to Quash and for a Protective Order [Dkt. 58]. In the alternative,

the Court should strike the expert reports in their entirety.


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       In their reports, Lichtman and Webster disclose that they obtained and relied on

information provided by Respondents. In one of his reports, Lichtman states, “The election and

demographic data and the racial identification of candidates were obtained from the staff of the

Redistricting Office of the Illinois Speaker of the House of Representatives.”1 See Lichtman

Resp. to Engstrom, at ¶ 6 (Ex. A). In another report, Lichtman states that all of the “data and

maps” on which he relied “were obtained from the staff of the Redistricting Office of the Illinois

Speaker of the House of Representatives.” See Lichtman Resp. to Morrison at ¶ 10 (Ex. B); see

also id. at ¶ 14 n.1 (providing results of calculations performed on “data provided by the Illinois

Redistricting Office”). And Lichtman’s third report expressly states that the data he uses is

described in his other two reports. Lichtman Rep. at 4 (Ex. C). Finally, the Defendants’ other

expert, Webster, likewise acknowledges that “Congressional district shape files for the 1990s,

2000s, and the 2011 Adopted Plan provided by the staff of the Redistricting Office of the

Speaker of the Illinois House of representatives” were among the “facts or data relied upon in

reaching [his] conclusions.” Webster Rep. at 3 (Ex. D).

       As the Court is aware, the Office of the Speaker of the Illinois House of Representatives

is one of the parties to whom Plaintiffs’ Subpoenas were directed, and that Office has refused to

produce any maps, data, or other documents whatsoever on the ground of legislative “immunity.”

Now, however, it appears that the Officer of the Speaker is funneling cherry-picked information

to the Defendants’ experts in an effort to rebut Plaintiffs’ allegations and expert evidence.

       Adding insult to injury, Lichtman faults the Plaintiffs for failing to present “any direct or

indirect evidence that decision-makers feared that the white majority’s preferred candidates

would be defeated by the candidates of choice for Latino voters.” Lichtman Rep. at 7 (Ex. C).


1
  Before receiving Lichtman’s reports, Plaintiffs were unaware that Speaker Madigan’s office even
contained a stand-alone “Redistricting Office.”
                                                 2
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Yet such evidence of the decision-makers intent is precisely what the Subpoena Respondents

swore was irrelevant to the case and privileged from discovery.              Indeed, counsel for the

Respondents insisted that the Court’s analysis would be “an expert-driven, data-driven process.”

Transcript of September 29, 2011 Proceedings at 15:10-18 (Ex. E).2 Lichtman’s report confirms

that Respondents were wrong and that evidence of legislative intent is a central element of proof.

See, e.g. Village of Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252, 265-268 (1977)

(“Proof of racially discriminatory intent or purpose is required to show a violation of the Equal

Protection Clause. * * * Determining whether invidious discriminatory purpose was a motivating

factor demands a sensitive inquiry into such circumstantial and direct evidence of intent as may

be available.”).3 By criticizing the Plaintiffs for not presenting evidence of legislators’ intent, the

Defendants seek to improperly use the legislative privilege as a “sword” to prejudice the

Plaintiffs’ case.

        The Defendants should not be permitted to use the legislative and deliberative process

privileges “as both a shield and a sword.” United Auto Ins. Co. v. Veluchamy, 747 F. Supp. 2d

1021, 1030 (N.D. Ill. 2010).       As such, the Respondents should not be permitted to claim

privilege over broad swaths of information, while the Defendants simultaneously and selectively

use information from the Respondents in making their defense and fault the Plaintiffs for not

having such information. See Robinson v. Morgan Stanley, No. 06-cv-5158, 2010 WL 1050288,

at *6 (N.D. Ill. March 17, 2010) (“[a] defendant may not use the privilege to prejudice his



2
  Counsel for the Democratic Congressional Candidate Committee (“DCCC”) has likewise argued to the
U.S. District Court for the District of Columbia that the Panel had not even determined whether evidence
of the intent behind the passage of the Plan (which Plaintiffs are also seeking from the DCCC) was
relevant. The transcript of this hearing is not yet available.
3
 See also Garza v. County of Los Angeles, 918 F.2d 763, 770-771 (9th Cir. 1990) (plaintiff may establish
violation of Voting Rights Act by proving intentional discrimination on the part of the legislature).
                                                   3
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opponent’s case or to disclose some selected communications for self-serving purposes”)).4 Yet

that is what the Respondents and the Defendants are doing. Lichtman’s report relies on selected

“data” and “maps” provided by the Respondents to support the Defendants’ claim that the

Congressional Plan passes muster, and Lichtman criticizes the Plaintiffs for supposedly failing to

present intent evidence. At the same time, however, the Respondents refuse to produce any

evidence to the Plaintiffs about the creation and adoption of the Plan. These litigation tactics are

improper and unfair.

       At the hearing on the pending motions, Judge Tinder agreed that the Plaintiffs “do make a

good point that to the extent they resist your opponents and third parties resist disclosing certain

things, they can’t then bring that witness in to testify.” 9/29/11 Tr. at 24:24-25:2 (Ex. E).

Instead of apprising the Plaintiffs and the Court that the Respondents were then in the process of

sharing data and other information with the Defendants’ experts, counsel for the Respondents

stated at the hearing that “I think it’s a little early for motions in limine.” Id. at 28:15-16. That

lack of candor was improper. And certainly it is no longer too early to bar the Defendants from

relying on any information obtained from the Respondents.

       Indeed, it would be fundamentally unfair to allow the Respondents to selectively disclose

documents that help the Defendants’ case, while simultaneously allowing the Respondents to

refuse to produce any other documents on privilege grounds. It is for this reason that the

intentional disclosure of an otherwise privileged document waives the privilege as to other

documents that concern the same subject matter. See Lerman v. Turner, 2011 WL 494623, at *2

(N.D. Ill. Feb. 4, 2011) (Lefkow, J.) (citing Fed. R. Evid. 502(a)). The subject-matter waiver

4
  See also Brown v. City of Detroit, 259 F. Supp. 2d 611, 623-24 (E.D. Mich. 2003) (government may not
selectively disclose information and then rely on deliberative process privilege to withhold other
information, such an attempt would be an improper use of the privilege “as a sword rather than a
shield.”); Pacific Gas and Elec. Co. v. Lynch, No. C-01-3023, 2002 WL 32812098, at *4 (N.D. Cal. Aug.
19, 2002) (same).
                                                  4
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doctrine appropriately applies in situations like this, in which “the privilege holder seeks to use

the disclosed material for advantage in the litigation but to invoke the privilege to deny its

adversary access to additional materials that could provide an important context for proper

understanding of the privileged materials,” In re Aftermarket Filters Litigation, 08-cv-4883,

2010 WL 4622527, at *6 (N.D. Ill. Nov. 4, 2010) (quoting Charles Alan Wright et al., Federal

Practice and Procedure vol. 8, § 2016.2 (3d ed. 1995, Suppl. 2010)), and when “fairness

requires a further disclosure of related, protected information, in order to prevent a selective and

misleading presentation of evidence to the disadvantage of the adversary.”                    Id.5   The

Respondents should not be permitted to disclose cherry-picked materials that they consider

helpful to the defense of the Congressional Plan, and yet assert privilege over other documents

that they would rather not produce. Having voluntarily injected “data” and “maps” into the

litigation by providing it to the Defendants’ experts, the Respondents have opened themselves to

all of the discovery sought in the Subpoenas. See Powell v. Ridge, 247 F.3d 520, 525-26 (3d Cir.

2001) (refusing to recognize a doctrine of “partial legislative immunity,” that would allow

legislators to actively participate in the litigation while refusing to provide discovery).

       For the foregoing reasons and those stated in the Plaintiffs’ prior filings on this subject,

the Plaintiffs ask that the Court grant Plaintiffs’ Motion to Compel [Dkt. 52] and deny the

Respondents’ Motion to Quash and for a Protective Order [Dkt. 59]. In the alternative, the

Plaintiffs ask that the Court strike the Defendants’ expert reports in their entirety, because they

rely on cherry-picked data and documents provided by the Respondents.



5
  While Rule 502(a) concerns the attorney-client and work product privileges, there is no reason why the
“fairness” concerns underlying the rule are not equally applicable in this context. See FED. R. EVID.
502 advisory comm. nn; see also Bobkoski v. Board of Educ., 141 F.R.D. 88, 91 (N.D. Ill. 1992) (noting
that the primary rationales for the deliberative process privilege and the attorney client privilege are
analogous).
                                                   5
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Dated: October 6, 2011                      Respectfully Submitted,


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                        EXHIBIT A
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  EXPERT REPORT OF ALLAN J. LICHTMAN: RESPONSE TO THE REPORT OF
                    DR. RICHARD L. ENGSTROM

                             OCTOBER 4, 2011




                                     1
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with Ken DeCell), The Keys to the White House, and White Protestant Nation: The Rise of the

American Conservative Movement. My most recent book, White Protestant Nation, was one of

five finalists for the National Book Critics Circle Award for the best general nonfiction book

published in America.

       5.      I have worked as a consultant or expert witness for both plaintiffs and defendants

in more than seventy-five voting and civil rights cases. These include several cases in the state of

Illinois. Among other cases, I testified for the prevailing parties in King v. Board of Elections,

regarding the Latino Congressional district in Illinois and also in Campuzano v. Illinois Board of

Election the statewide challenge to the post-2000 redistricting plan for state legislative positions.

In King, I testified on behalf of plaintiffs and in Campuzano on behalf of defendants. I was also

an expert witness in the landmark case of Garza v. City of Los Angeles, 756 F. Supp. 1298

(1990), on Latino vote dilution. In many cases, I have analyzed the demography of

Congressional redistricting plans. My work includes more than a dozen cases for the United

States Department of Justice and cases for many civil rights organizations. I have also worked as

a consultant or expert witness in defending enacted plans from voting rights challenges. A copy

of my resume and a table of cases are attached as Appendix I of this report.

Data and Methods

       6.      The voting analysis in this report relies on standard data utilized in social science:

precinct by precinct election returns for each candidate in elections, with candidates identified by

race and precinct by precinct breakdowns of voting age Latinos, African-Americans, and Whites,

which includes a small number of Asians and members of other races. The election and

demographic data and the racial identification of candidates were obtained from the staff of the

Redistricting Office of the Illinois Speaker of the House of Representatives. This information
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was obtained electronically. I also obtained election results from the websites of the Illinois State

Board of Elections, the Cook County Board of Elections, and the City of Chicago Board of

Elections. To estimate the voting of Latinos, African-Americans, and whites (a group that also

includes some Asians and members of other races) the analysis utilizes the standard

methodology of ecological regression that I have employed in some 75 previous voting rights

cases and applied to the analysis of many thousands of elections and the study of numerous

redistricting plans. The ecological regression procedure estimates the voting behavior of

demographic groups such as non-Latinos and Latinos by comparing the racial composition of

voting precincts to the division of the vote among competing candidates in each precinct. It

produces an equation that estimates both the turnout and voting for each candidate by each voter

group. The procedure was accepted by the Supreme Court in Thornburg v. Gingles, 478 U.S. 30

(1986), and applied by the Court to single-member districts plans in Quilter v. Voinovich, 113 S.

Ct 1149 (1993). My analysis based on these methods was cited authoritatively several times by

the United States Supreme Court in the Congressional redistricting case, League of United Latin

Am. Citizens (LULAC) v. Perry, 548 U.S. 399 (2006).1

        7.       The results of ecological regression analysis were also checked and verified in

several ways. First, the analysis was checked and verified to make sure that the estimates of

voting behavior by demographic groups accurately represented the actual votes for candidates in

the election. Second, the analysis was checked as verified by the method of extreme case or

1 For a scholarly analysis of ecological regression and why it works well in the context of analyzing the voting of
racial groups., especially Latinos and non-
in the Garza Case and Be            Evaluation Review 15 (1991). This article also shows why Dr. Engstrom is
incorrect in his critique that ecological regression depends on linearity of voting by demographic groups in all
precincts. Following my standard practice, I utilized the two equations and weighted ecological regression procedure
that adjusts for turnout and for differences in the voting-age populations of precincts. Bernard Grofman, the expert
witness in the Gingles case, and myself were co-originators of this statistical methodology which I have since
refined, to introduce a method of bounds see, Bernard Grofman, Lisa Handley, Richard G. Niemi, Minority
Representation and the Quest for Voting Equality (New York: Cambridge University Press, 1992), pp. 102, 146.
                                                         6
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 EXPERT REPORT OF ALLAN J. LICHTMAN: RESPONSE TO THE REPORT OF DR.
                     PETER A. MORRISON, PH.D.

                              OCTOBER 4, 2011




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against Latinos. In many cases, I have analyzed the demography of congressional redistricting

plans. My work includes more than a dozen cases for the United States Department of Justice

and cases for many civil rights organizations. I have also worked as a consultant or expert

witness in defending enacted plans from voting rights challenges. A copy of my resume and a

table of cases are attached as Appendix I of this report.

Data and Methods

         10.    The analysis in this report relies on standard data utilized in social science. This

data includes reports showing the total population, Latino population, voting age population and

Latino voting age population for existing districts, districts in the state passed plan, and districts



of these demographic groups from existing districts to new districts in the state passed plan and

plaintiffs plan. It includes reports on split precincts in districts of the state passed plan and the

plaintiffs plan. It includes maps showing the flow of voting age population and Latino voting

age population into an out of congressional districts. All data and maps were obtained from the

staff of the Redistricting Office of the Illinois Speaker of the House of Representatives. This

information was obtained electronically.

I.       PROBLEMS IN MORRISON S ANALYSIS OF CD 4 IN THE ADOPTED PLAN.

         11.    The Morrison report violates an essential requirement of scientific study: that an

investigator not alter his methodology either to avoid certain results or to generate others. The

Morrison report alters its methodological approach to analyzing changes in district populations

and also alters the standards set by Dr. Morrison in his published scholarship.

          12.   Dr. Morrison applies different methodologies to studying population changes in

CD 3 and CD 5 as compared to CD 4 in the state adopted Congressional plan. This is not a minor
                                                   5
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adjustment, but a shift in procedure that shapes his analyses and conclusions. In analyzing CD 3

and CD 5, Dr. Morrison properly uses the benchmark 2002 plan for comparing changes in the

                                                                                        o CD 3 he

                                      -age population (VAP) that is 29.3% Latino, based on 2010

                                                                                      . However,

with respect to CD 4, Dr. Morrison ignores the 2002 benchmark district, and instead compares

the Latino voting age population in CD 4 under the state adopted plan to the Latino voting age

population in CD 4 in the post-1990 plan, stating, The Latino share of voting-age population

                                          59.2% in the post-

(p. 8). If Dr. Morrison had consistently followed his methodology and compared the Latino

concentration in adopted CD 4 to the benchmark CD 4 in the 2002 plan he would have reached

the contrary finding that the state reduced the Latino share of the voting age population in this

district from 68.1% to 65.9%. Thus, the rise in the Latino concentration in adopted CD 4

occurred prior to the drawing of the 2011 congressional redistricting plan.

       13.     Dr. Morrison also shifts his analysis of CD 4 as compared to CD 3 and CD 5 in

yet another way. For CD 3 and CD 5 he provides a border analysis, complete with maps showing

the Latino concentrations of territory shifted in and out of these districts from other districts in

the benchmark 2002 plan. However, Dr. Morrison provides no border analysis and no maps for



                          Thus, his analysis of CD 4 in the Adopted Plan is incomplete according

                                      .

       14.     Further,

to Adopted CD4 had a 47.2% Latino share of VAP. The territory formerly in 2002 CD4 that was

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rem                                                           . He does not, however, present the data or

calculations that produced his findings about the inflow and outflow of Latino voting age

population in state passed CD 4. Given that only about 30.6 percent of new CD4 comes from

outside the 2002 version, this small differential of 6.6 percent amounts to only a two percentage

point difference in the Hispanic VAP percentage within new CD4 (6.6%*.306=2.0%). 1

         15.      After analyzing the changes in CD 3, CD 4 and CD 5 in the Adopted Plan, Dr.

Morrison reaches an erroneous conclusion. He no longer assesses the changes in District 4 by

comparing the Adopted Plan to the post-1990 plan. Rather, he incorrectly concludes without any

qualification that the Latino voting age population in CD 4 in the Adopted Plan increased.

II.  DR.                        ON OF THE CONCENTRATIONS OF LATINO
VOTERS ONLY IN CD 3, CD 4 AND CD 5 OF THE ADOPTED PLAN AND IN CD 3
AND CD 4 OF PLAINTIF                     TE AND DOES NOT INCLUDE
THE PROPER GEOGRAPHIC AREA FOR ANALYSIS.

         16.      In analyzing the concentrations of Latino voters in the Adopted Plan and in

                 , Dr. Morrison improperly limits the districts in each plan that he considers. The

proper geographic area for analysis of concentrations of Latinos voters is broader and includes

districts in Cook County and bordering Cook County, given that the Latino populations in a

number of the excluded districts is larger than 21% and given that p                        plan fundamentally

redraws Congressional Districts in this region of the state, which impacts concentrations of

Latino populations beyond just CD 3, CD 4 and CD 5.

         17.      Dr. Morrison focuses on reductions of Latino voting age population in CD 3 and

CD 5. However, he fails to indicate that the Adopted Plan also increased the Latino


1
indicate that that the Latino voting percentage in the outflow from existing CD 4 is 41.2 percent, not 40.6 percent,
slightly narrowing the gap reported by Dr. Morrison. According to data provided by the Illinois Redistricting Office,
83,442 persons of voting age moved out of existing CD 4, including 34,377 Latinos, for a percentage of 41.2%
Latino.
                                                          7
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                         EXHIBIT C
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INTENTIONAL VOTE DILUTION & RACIAL PREDOMINANCE IN REDISTRICTING

                              OCTOBER 4, 2011




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analyses also ground my books, Prejudice and the Old Politics: The Presidential Election of

1928, The Thirteen Keys to the Presidency (co-authored with Ken DeCell), The Keys to the

White House, and White Protestant Nation: The Rise of the American Conservative Movement.

My most recent book, White Protestant Nation, was one of five finalists for the National Book

Critics Circle Award for the best general nonfiction book published in America.

       I have worked as a consultant or expert witness for both plaintiffs and defendants in more

than seventy-five voting and civil rights cases. These include several cases in the state of Illinois.

Among other cases, I testified for the prevailing parties in King v. Board of Elections, regarding

the Latino congressional district in Illinois and also in Campuzano v. Illinois Board of Election

the statewide challenge to the post-2000 redistricting plan for state legislative positions. In King,

I testified on behalf of plaintiffs and in Campuzano on behalf of defendants. I was also an expert

witness in the landmark case of Garza v. City of Los Angeles, 756 F. Supp. 1298 (1990), on

Latino vote dilution. In many cases, I have analyzed the demography of congressional

redistricting plans. My work includes more than a dozen cases for the United States Department

of Justice and cases for many civil rights organizations. I have also worked as a consultant or

expert witness in defending enacted plans from voting rights challenges. A copy of my resume

and a table of cases are attached as Appendix I of this report.

Data and Methods

       This report relies on standard data and methods used in social science. The methods and

data used for voting analysis are described in my Reply Report to the Report of Dr. Richard L.

Engstrom. Methods and data used for the analysis of districts and population flows are described

in my Reply Report to the Report of Dr. Peter A. Morrison. This report also relies on standard

methods of historical and political analysis that I have applied in my scholarship as a political



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historian and in my writing on quantitative and non-quantitative methods in historical and social

science study. That scholarship is described above.

SECTION I: CLAIMS OF VOTE DILUTION IN COUNTS I, II, AND III

A.                                          of Intent

        Proof of an intentional discrimination claim requires an exacting and stringent expert

analysis of circumstantial evidence. Such requirements are explained in a 142 page scholarly

article by California Institute of Technology Professor J. Morgan Kousser, the intent expert in

Garza v. Los Angeles County that plaintiffs cite as the case in which a court found intentional

discrimination against Latinos in the crafting of a legislative redistricting plan.1 There is,

however, no analysis of intentional discrimination in either of the expert reports submitted by



material developed in this case offer no facts, data, or opinions, unlike in the Garza case, which

allow an inference of racial discrimination to be drawn. Unlike in Garza, in this case:

        The Illinois State legislature charged with redistricting had a substantial number of

        Latinos.

        Substantial facts and data explained below show that the Illinois State legislature has

        acted affirmatively to expand minority opportunities to participate in the political process.

        Democrats nearly universally backed such initiatives, whereas Republicans mostly

        opposed them. No special rules that militate against the interests of minorities exist for

        the redistricting process in Illinois.




1
                                                               Journal of Law & Politics, VII (1991).


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Plan. Furthermore, as I explain below my analysis of CD 4 of the Adopted Plan shows that

drafters did not maximize the Latino concentration in that district.

       As an additional matter, Plaintiffs have alleged in paragraphs 53 and 54 of their

Complaint that CD 3 and CD 5 in the Adopted Plan were drawn to protect the ability of the white

majority to defeat candidates of choice for Latino voters. Plaintiffs have not presented any direct

or indirect evidence that decision-

would be defeated by the candidates of choice for Latino voters. These allegations are based on

a demonstrably false presumption that Latino voters and white voters differ in their preferred

candidates in these districts. As indicated in the electoral analysis presented in my Response to

the Report of Engstrom, Rep. Lipinski and Rep. Quigley were in fact the candidates of choice for

Latinos in CD 3 and CD 5, respectively. Lipinski in CD 3 and Quigley in CD 5 have been the

candidates of choice of Latino and non-Latino voters in elections against Latino competitors.

This was the case for Representative Lipinski in two Democratic primary elections in CD 3 held

in 2008 and 2010, when Lipinski defeated Latino opponents. He was the candidate of choice of

Latinos as well as of African Americans and whites. He then won both follow up general

elections, likewise with unified support from all three voter groups (see Response to the Report

of Engstrom). In the special 2009 general election for the Congressional seat in CD 5 vacated by

former Representative Emanuel, Quigley, with unified support from Latinos and non-Latinos,

defeated a Latino opponent. (There was insufficient African American population and

concentration in CD 5 to estimate separately African American voting.)

       In addition to these readily disprovable allegations about CD 3 and CD 5 contained in

paragraphs 53 and 54 of their Complaint, Plaintiffs fail to consider the districts drawn by the

state in Cook County and bordering regions in the Adopted Plan. Plaintiffs fail to note that while




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